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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


  IN RE APPLICATION OF DAILANE
  INVESTMENTS LIMITED AND
  MICHAEL MAILLIS FOR JUDICIAL                          Case No. 22-mc-23619-RKA
  ASSISTANCE PURSUANT TO
  28 U.S.C. § 1782


   DECLARATION OF TARA J. PLOCHOCKI IN SUPPORT OF APPLICATION FOR
           JUDICIAL ASSISTANCE PURSUANT TO 28 U.S.C. § 1782

       I, Tara J. Plochocki, declare pursuant to 28 U.S.C. § 1746 as follows:

    1. I am a partner in the law firm of Lewis Baach Kaufmann Middlemiss PLLC and am

       counsel to the Petitioners in this action.

    2. Sami Mnaymneh can be found in this District. The basis for this assertion is an online

       biography for him on the website of H.I.G. Growth Partners, which states that he is the

       founder and CEO of this company and that his location is Miami, Florida. This biography

       is attached hereto as Exhibit 1, and available at https://higgrowth.com/team/sami-

       mnaymneh/.

    3. H.I.G. Capital LLC is headquartered in this District. Attached hereto as Exhibit 2 is a

       true and correct copy of records maintained by the Division of Corporations of the State

       of Florida, reflecting that H.I.G. Capital’s principal address is 1450 Brickell Avenue, 31st

       Floor, Miami, Florida 33131. Anthony Tamer is identified as the Manager of HIG

       Capital at the same address.

    4. Attached hereto as Exhibit 3 is a true and correct copy of a chart reflecting the corporate

       structure of H.I.G. Capital, as provided to my client by an H.I.G. affiliate.

    5. Attached hereto as Exhibit 4 is a draft subpoena directed to H.I.G. Capital LLC.


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     6. Attached hereto as Exhibits 5 and 6 are draft subpoenas directed to Mssrs. Mnaymneh

         and Tamer seeking deposition testimony.



  I declare under the penalty of perjury that the foregoing is true and correct.

  Executed this 4th day of November 2022.

                                                _____________________________
                                                Tara J. Plochocki




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